                                  Case 18-20912-EPK                  Doc 1        Filed 09/04/18           Page 1 of 62

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                U.S. Gymnastics Training Centers, Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed           USGTC Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  POB 4088
                                  Tequesta, FL 33469
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Debtor has 2 trailers of plywood for platform,
                                                                                                  foam and gym equipment located in
                                                                                                  Massachusetts close to summer camp. Deb South
                                                                                                  Hadley, MA 01075
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.usgymnasticscamps.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-20912-EPK                 Doc 1         Filed 09/04/18              Page 2 of 62
Debtor    U.S. Gymnastics Training Centers, Inc                                                         Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 18-20912-EPK                      Doc 1        Filed 09/04/18              Page 3 of 62
Debtor   U.S. Gymnastics Training Centers, Inc                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 18-20912-EPK                   Doc 1        Filed 09/04/18             Page 4 of 62
Debtor    U.S. Gymnastics Training Centers, Inc                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 3, 2018
                                                  MM / DD / YYYY


                             X   /s/ Michael Jacobson                                                     Michael Jacobson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Principal and 100% owner




18. Signature of attorney    X   /s/ Donna A Bumgardner, Esq                                               Date September 3, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Donna A Bumgardner, Esq 744890
                                 Printed name

                                 Bumgardner & Associates, PA
                                 Firm name

                                 7707 N University Drive, #103
                                 Tamarac, FL 33321
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     954-724-4366                  Email address      donnabkclaw@aol.com

                                 744890 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                     Case 18-20912-EPK                        Doc 1        Filed 09/04/18            Page 5 of 62




 Fill in this information to identify the case:

 Debtor name         U.S. Gymnastics Training Centers, Inc

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 3, 2018                       X /s/ Michael Jacobson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Jacobson
                                                                       Printed name

                                                                       Principal and 100% owner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                            Case 18-20912-EPK                                    Doc 1               Filed 09/04/18                         Page 6 of 62
 Fill in this information to identify the case:

 Debtor name            U.S. Gymnastics Training Centers, Inc

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           142,476.60

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           142,476.60


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           228,352.07


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             228,352.07




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                     Case 18-20912-EPK                    Doc 1     Filed 09/04/18          Page 7 of 62
 Fill in this information to identify the case:

 Debtor name         U.S. Gymnastics Training Centers, Inc

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Bank of America Business Checking
           3.1.     #6419                                                   Checking                        6419                                  $114,816.60



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $114,816.60
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Mount Holyoke College Security Deposit
                    Address: 50 College St., South Hadley, MA
                    26 Park St., Willits-Hallowell Center
                    South Hadley, MA 0075
           7.1.     Attn: Imad Zubi, Director of Conference Services                                                                                $25,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                     Case 18-20912-EPK                    Doc 1     Filed 09/04/18        Page 8 of 62

 Debtor         U.S. Gymnastics Training Centers, Inc                                         Case number (If known)
                Name


 9.        Total of Part 2.                                                                                                        $25,000.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           laptop computer(5+ years old) printer and fax
           machine
           Business AT&T Phone
           Various file containers                                                     Unknown       Liquidation                           $160.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $160.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                                     Case 18-20912-EPK                    Doc 1     Filed 09/04/18        Page 9 of 62

 Debtor         U.S. Gymnastics Training Centers, Inc                                         Case number (If known)
                Name


               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    Great Dane 1999 Trailer (53' x 102" x 13'
                     6") (no tractor for transport)(paid
                     $5,300.00 for the trailer 6 years ago).
                     VIN #:1GRAA0626XB194516                                                $0.00    Liquidation                         $2,500.00


            47.2.    Rental Trailer (in Massachusetts) holds
                     plywood and materials to build a
                     platform. This is a monthly rental paid to
                     08/15/2018. Non-transferrable                                          $0.00                                              $0.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Gym Equipment List will be provided.                                            $0.00                                              $0.00



 51.        Total of Part 8.                                                                                                         $2,500.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                                    Case 18-20912-EPK                    Doc 1     Filed 09/04/18        Page 10 of 62

 Debtor         U.S. Gymnastics Training Centers, Inc                                         Case number (If known)
                Name

59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Since the camp closed without benefit to its
            students the customer list holds no value.                                      $0.00                                              $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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                                      Case 18-20912-EPK                              Doc 1           Filed 09/04/18                  Page 11 of 62

 Debtor          U.S. Gymnastics Training Centers, Inc                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $114,816.60

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $25,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $160.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $2,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $142,476.60           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $142,476.60




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                                    Case 18-20912-EPK                Doc 1      Filed 09/04/18          Page 12 of 62
 Fill in this information to identify the case:

 Debtor name         U.S. Gymnastics Training Centers, Inc

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                                    Case 18-20912-EPK                      Doc 1         Filed 09/04/18                 Page 13 of 62
 Fill in this information to identify the case:

 Debtor name         U.S. Gymnastics Training Centers, Inc

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           AAAAA Bee-Line Corp                                                  Contingent
           POB 6                                                                Unliquidated
           Springfield, MA 01101                                                Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of debt/Storage
           Last 4 digits of account number      7690
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $820.00
           Alex & De Borrah Wright                                              Contingent
           94 Nottingham Drive                                                  Unliquidated
           East Longmeadow, MA 01028                                            Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,405.00
           Andrew D. & Karen J. Richard                                         Contingent
           38 Grahampton Lane                                                   Unliquidated
           Greenwich, CT 06830                                                  Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,405.00
           Andrew McLaughlin & Elizabeth Willette                               Contingent
           26 Grant Breen Drive                                                 Unliquidated
           Mashpee, MA 02649                                                    Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Andrew T & Bridget A. Graham                                          Contingent
          9 Red Gate Rd.                                                        Unliquidated
          Walpole, MA 02081                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Andrey Chertov & Nataliya Volkova                                     Contingent
          52 Payson Road                                                        Unliquidated
          Chestnut Hill, MA 02467                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $159.07
          AT&T                                                                  Contingent
          POB 105262                                                            Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Phone Bill
          Last 4 digits of account number       0450
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Basel Salloum & Effie Ahladiotis-Salloum                              Contingent
          16 Hemlock Rd.                                                        Unliquidated
          Manhasset, NY 11030                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,385.00
          Brendan & Yvonne Molloy                                               Contingent
          27 Hillcrest Rd.                                                      Unliquidated
          Braintree, MA 02184                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Brian & Amber Fulmer                                                  Contingent
          19 Whitney Road                                                       Unliquidated
          Shirley, MA 01464                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Brian & Jacquie Rabinowitz                                            Contingent
          7 Curt Terrace                                                        Unliquidated
          Greenwich, CT 06831                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Brian & Lisa Maffioli                                                 Contingent
          11 Heathers Path                                                      Unliquidated
          Plympton, MA 02367                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Brian W. & Laureen A. Danieli                                         Contingent
          237 Sycamore Drive                                                    Unliquidated
          Westwood, MA 02090                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,440.00
          Caitlin Fay                                                           Contingent
          34 Lyng Street                                                        Unliquidated
          North Dartmouth, MA 02747                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Carl & Robin Erickson                                                 Contingent
          4889 East Bakersfield Road                                            Unliquidated
          Enosburg Falls, VT 05450                                              Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Carlus & Christy Gooden                                               Contingent
          3520 Gomer Street                                                     Unliquidated
          Yorktown Heights, NY 10598                                            Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $745.00
          Chad Gronbach & Liz Russell                                           Contingent
          4 Greystone Lane                                                      Unliquidated
          Hopkinton, MA 01748                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,770.00
          Chris & Victoria Condon                                               Contingent
          23 High Street                                                        Unliquidated
          Rockport, ME 04856                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Christopher & Elizabeth Alagno                                        Contingent
          16 Macintosh Drive                                                    Unliquidated
          Oxford, CT 06478                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Christopher & Stacy Magiera                                           Contingent
          57 Dartmouth Lane                                                     Unliquidated
          East Longmeadow, MA 01028                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,782.00
          Christopher A & Michelle L. Blackburn                                 Contingent
          55 Stuart Drive                                                       Unliquidated
          Tolland, CT 06084                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Christopher Macrina &                                                 Contingent
          Christina Bamberger                                                   Unliquidated
          14A Populatic Street                                                  Disputed
          Medway, MA 02053
                                                                             Basis for the claim:    Collection of Debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Corey & Susanne Kummel                                                Contingent
          11 Villa Street #407                                                  Unliquidated
          Haverhill, MA 01832                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Crist Myers & Aliya Mamdani                                           Contingent
          33 Ardsley Road                                                       Unliquidated
          Longmeadow, MA 01106                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,297.00
          Cynthia Hodgdon                                                       Contingent
          6 Pinewood Drive                                                      Unliquidated
          Amherst, NH 03031                                                     Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Damian R. Siebert & Elizabeth Canter                                  Contingent
          44 Worcester Street                                                   Unliquidated
          Belmont, MA 02478                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,872.00
          Dan Higgins & Rose Tse                                                Contingent
          10 Hobby Farm Drive                                                   Unliquidated
          Bedford, NY 10506                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,872.00
          Danda & Caroline Fosdick                                              Contingent
          495 Salem Street                                                      Unliquidated
          Rockland, MA 02370                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Daniel & Christine Maloof                                             Contingent
          15 Taylor Drive                                                       Unliquidated
          Rehoboth, MA 02769                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Daniel & Kristen Augustyn                                             Contingent
          31 Lancashire Drive                                                   Unliquidated
          Mansfield, MA 02048                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Daniel & Treacy Henry                                                 Contingent
          419 Newton Street                                                     Unliquidated
          South Hadley, MA 01075                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Dave & Lynn Meritt                                                    Contingent
          POB 783848                                                            Unliquidated
          Winter Garden, FL 34788                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          David & Carrie Michael                                                Contingent
          266 Woodland Road                                                     Unliquidated
          Newton, MA 02466                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          David S. Guy                                                          Contingent
          40 Clark Rd.                                                          Unliquidated
          Brookline, MA 02445                                                   Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,872.00
          David Tarimo & Grace Makani-Tarimo                                    Contingent
          22 Ruhinde Street, ADA Estate                                         Unliquidated
          POB                                                                   Disputed
          Tanzania
                                                                             Basis for the claim:    Collection of debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Deniz Savas                                                           Contingent
          5 Brahman Drive                                                       Unliquidated
          Norton, MA 02766                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Diana & Sara Brewer                                                   Contingent
          6 Prospect Court                                                      Unliquidated
          Northampton, MA 01060                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Dmitriy Svirskiy & Julia Donina                                       Contingent
          2 Taggart Court                                                       Unliquidated
          Ashland, MA 01721                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Domenico & Heidi Manago                                               Contingent
          3 Maple St                                                            Unliquidated
          Natick, MA 01760                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Donald & Andrea Knowles                                               Contingent
          26 Grayson Road                                                       Unliquidated
          Winchester, MA 01890                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Douglas & Gail Stanton                                                Contingent
          122 Greenville Road                                                   Unliquidated
          West Townsend, MA 01474                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Eddie & Jessica Wenzell                                               Contingent
          73 Deerfield Drive                                                    Unliquidated
          Groton, MA 01450                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Edward & Donna Rachwal                                                Contingent
          337 Commonwealth Ave.                                                 Unliquidated
          Attleboro Falls, MA 02763                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Eric N & Stacey L. Panasci                                            Contingent
          72 N Circle Drive                                                     Unliquidated
          East Longmeadow, MA 01028                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Erich & Susan Twachtman                                               Contingent
          25 Lt. Shubael Road                                                   Unliquidated
          Higganum, CT 06441                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Erik C. & Shannan L. Ryll                                             Contingent
          3 Aspen Ridge                                                         Unliquidated
          Somers, CT 06071                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Garrett & Alyssa Brown                                                Contingent
          67 Lindbergh Ave                                                      Unliquidated
          West Newton, MA 02465                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Gary Blier & Preeti Kapoor                                            Contingent
          47 Quarry Village Road                                                Unliquidated
          Cheshire, CT 06410                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Gary Hicks & Sandra Hicks                                             Contingent
          1428 Enfield Street                                                   Unliquidated
          Enfield, CT 06082                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          George Howard & Amy Pollack-Howard                                    Contingent
          243 Linwood Ave.                                                      Unliquidated
          Newtonville, MA 02460                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Gianni & Christy Taraschi                                             Contingent
          245 Oakland Ave.                                                      Unliquidated
          Arlington, MA 02476                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          James & Cari Brandt                                                   Contingent
          58 Davids Hill Road                                                   Unliquidated
          Woodbury, CT 06798                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          James & Kristin Devlin                                                Contingent
          505 Foster Road                                                       Unliquidated
          Tewksbury, MA 01876                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,872.00
          James & Tricia Brady                                                  Contingent
          90 Florence Lane                                                      Unliquidated
          Fairfield, CT 06824                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,655.00
          James & Wendie Holland                                                Contingent
          389 Annable Point Road                                                Unliquidated
          Centerville, MA 02632                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          James Carswell & Aimee Facchini                                       Contingent
          POB 1194                                                              Unliquidated
          Barnstable, MA 02630                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,872.00
          Jason & Diana Kyrwood                                                 Contingent
          375 Lincoln Place #3H                                                 Unliquidated
          Brooklyn, NY 11238                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Jason & Neathery Brenzel                                              Contingent
          31 Spring Park Ave                                                    Unliquidated
          Jamaica Plain, MA 02130                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jason Peasley & Penny Mills-Peasley                                   Contingent
          274 Thurlow Road                                                      Unliquidated
          Lincolnville, ME 04849                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jay & Eileen Rivera                                                   Contingent
          10 Hunters Lane                                                       Unliquidated
          Natick, MA 01760                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       U.S. Gymnastics Training Centers, Inc                                                   Case number (if known)
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jeanne Richards                                                       Contingent
          26 Weston Street                                                      Unliquidated
          Danvers, MA 01923                                                     Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jeffrey & Susan Monfette                                              Contingent
          45 Clements Road                                                      Unliquidated
          Waltham, MA 02453                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Jeffrey M. & Dawn Marie Sweetman                                      Contingent
          199 Crane Hill Rd.                                                    Unliquidated
          Wilbraham, MA 01095                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jennifer Ankers                                                       Contingent
          11 Kimberly Drive                                                     Unliquidated
          Rockport, ME 04856                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Jennifer Boucher                                                      Contingent
          24 Still Meadow Lane                                                  Unliquidated
          Somers, CT 06071                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,810.00
          Jennifer J. DiGregorio                                                Contingent
          109 Stockbridge Road                                                  Unliquidated
          Scituate, MA 02066                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,375.00
          Jennifer Peters                                                       Contingent
          65 Cresent Street                                                     Unliquidated
          Franklin, MA 02038                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jennifer T. Thompson                                                  Contingent
          308 Babbs Rd.                                                         Unliquidated
          West Suffield, CT 06093                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jerrod Pratt & Sarah McLan                                            Contingent
          POB 482                                                               Unliquidated
          Rockport, ME 04856                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Jess Saalfield                                                        Contingent
          43 Beacon Street                                                      Unliquidated
          Florence, MA 01062                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jill C Matos                                                          Contingent
          3 Mulberry Lane                                                       Unliquidated
          Oxford, CT 06478                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          John & Christina Holmes                                               Contingent
          48 Shore Drive                                                        Unliquidated
          Kingston, MA 02364                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          John & Laurie Fernandes                                               Contingent
          8 Hawkins Road                                                        Unliquidated
          Oxford, CT 06478                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          John & Laurie Regan                                                   Contingent
          2 Furnance Pond Way                                                   Unliquidated
          Norton, MA 02766                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          John Igoe                                                             Contingent
          13 Fazio Farm Road                                                    Unliquidated
          Georgetown, MA 01833                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,770.00
          Jonas & Stacey Contakos                                               Contingent
          39 Pascal Ave                                                         Unliquidated
          Rockport, ME 04856                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jonathan & Christina Oliver                                           Contingent
          50 Colts Crossing                                                     Unliquidated
          Canton, MA 02021                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Jonathan Kloos & Nicole Ostermann-Kloos                               Contingent
          59 West 12th Street                                                   Unliquidated
          Apt 8A                                                                Disputed
          New York, NY 10011
                                                                             Basis for the claim:    Collection of Debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Joseph & Karen Bush                                                   Contingent
          284 Woodruff St.                                                      Unliquidated
          Southington, CT 06489                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Joyce Crudo                                                           Contingent
          141 Longview Ave.                                                     Unliquidated
          Celebration, FL 34747                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Karen L Holbrook                                                      Contingent
          4 Sagamore Road                                                       Unliquidated
          Bellingham, MA 02019                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Kevin & DeAnne Sneddon                                                Contingent
          10 Sawmill Terr                                                       Unliquidated
          Greenwich, CT 06830                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Kevin J. & Diane J. McCabe                                            Contingent
          162 Stanford Drive                                                    Unliquidated
          Westwood, MA 02090                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,620.00
          Kim Chandler                                                          Contingent
          45 Baron Rd                                                           Unliquidated
          Franklin, MA 02038                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $800.00
          Kim Ward                                                              Contingent
          62 Grafton Ave.                                                       Unliquidated
          Westwood, MA 02090                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Konstantin Zeldovich & Nadya Shusharina                               Contingent
          56 Gilbert Road                                                       Unliquidated
          Belmont, MA 02478                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Kristin D. Stoetzel                                                   Contingent
          5 Birchwood Road                                                      Unliquidated
          Holliston, MA 01746                                                   Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,640.00
          Kysa Nygreen                                                          Contingent
          28 Maple Ave.                                                         Unliquidated
          Northampton, MA 01060                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,237.00
          Larry & Gina Bliss                                                    Contingent
          38 Tahmore Drive                                                      Unliquidated
          Fairfield, CT 06825                                                   Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Laura L. Wilcox                                                       Contingent
          5 Summer St.                                                          Unliquidated
          Northborough, MA 01532                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Lisa M. Hayostek                                                      Contingent
          3250 Martin Street                                                    Unliquidated
          Schenectady, NY 12306                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Lori Diane Fishman                                                    Contingent
          16 Forty Acres Drive                                                  Unliquidated
          Wayland, MA 01778                                                     Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Louis Anthony Tartaglia & Amy Axelrod                                 Contingent
          32 Manor House Rd.                                                    Unliquidated
          Newton Center, MA 02459                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Mark & Kelli Woelfel                                                  Contingent
          87 Hancock Road                                                       Unliquidated
          Franklin, MA 02038                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Mark & Lara Militello                                                 Contingent
          176 boulder Hill Drive                                                Unliquidated
          Shelburne, VT 05482                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Mark & Lara Mititello                                                 Contingent
          176 Boulder Hill Drive                                                Unliquidated
          Shelburne, VT 05482                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Martin & Cheryl Jones                                                 Contingent
          11 Garvey Road                                                        Unliquidated
          Framingham, MA 01701                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Matthew & Beth Storey                                                 Contingent
          69 Valley View Drive                                                  Unliquidated
          Suffield, CT 06078                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Matthew & Cami Griffith                                               Contingent
          65 Cranberry Lane                                                     Unliquidated
          Holliston, MA 01746                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,797.00
          Matthew & Lori Sajdak                                                 Contingent
          50 Blackberry Lane                                                    Unliquidated
          Hyannis, MA 02601                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Mel & Sally Hallah                                                    Contingent
          45 Rathbun Road                                                       Unliquidated
          Natick, MA 01760                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Michael & Kelly Baldini                                               Contingent
          155 Richie Road                                                       Unliquidated
          Attleboro, MA 02703                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Michael Davis & Kristin Wile                                          Contingent
          60 Lakemans Lane                                                      Unliquidated
          Ipswich, MA 01938                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Nancy McMahon                                                         Contingent
          23 Knollwood Road                                                     Unliquidated
          Medfield, MA 02052                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Nancy Mehegan & Dana Elder                                            Contingent
          50 Charles Road                                                       Unliquidated
          Winchester, MA 01890                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $745.00
          Nate Jones & Amie Grills                                              Contingent
          3 James Street                                                        Unliquidated
          Winchester, MA 01890                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Nico Gallinelli & Erin Sullivan                                       Contingent
          3 Collins Brook Rd.                                                   Unliquidated
          Windham, NH 03087                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Noah Barnes & Jane Barrett                                            Contingent
          352 Old County Road                                                   Unliquidated
          Rockland, ME 04841                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,770.00
          Oliver & Adriana Bokel Herde                                          Contingent
          185 Dalton Road                                                       Unliquidated
          Belmont, MA 02478                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       U.S. Gymnastics Training Centers, Inc                                                   Case number (if known)
              Name

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,872.00
          Patricia E. Barry                                                     Contingent
          78 Woolsey St.                                                        Unliquidated
          Huntington, NY 11743                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Patrick G. & Argiro F. Tibets                                         Contingent
          66 Pond Plain Road                                                    Unliquidated
          Westwood, MA 02090                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Paul & Angela Squarcia                                                Contingent
          108 Wading Place Road                                                 Unliquidated
          Mashpee, MA 02649                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Paul & Sarah Stotz                                                    Contingent
          5 Fairleigh Way                                                       Unliquidated
          Ballston Lake, NY 12019                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Peter & Sgall Bell                                                    Contingent
          8 Kennedy Road                                                        Unliquidated
          Cambridge, MA 02138                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Peter D & Kathleen E. Simmons                                         Contingent
          5 Daffodil Lane                                                       Unliquidated
          Medway, MA 02053                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,797.00
          Peter W. Benoit                                                       Contingent
          29 Gabriel Farm Drive                                                 Unliquidated
          Acushnet, MA 02743                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Phil & Heather Frank                                                  Contingent
          50 Surry Drive                                                        Unliquidated
          Cohasset, MA 02025                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Philip J. & Sara L. Reagan                                            Contingent
          2 Woodhaven Drive                                                     Unliquidated
          Franklin, MA 02038                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Phillippe & Lynn Schenk                                               Contingent
          16 Oakland Street                                                     Unliquidated
          Lexington, MA 02420                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Picariello Perras Family                                              Contingent
          POB 309                                                               Unliquidated
          Rogers, CT 06263                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Quirino Malandrino                                                    Contingent
          8 Bogart Ave                                                          Unliquidated
          Port Washington, NY 11050                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Reynold & Robyn Easton                                                Contingent
          15 Fairway Ave                                                        Unliquidated
          Delmar, NY 12054                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Rick & Kim Perlen                                                     Contingent
          1 Bruce Lane                                                          Unliquidated
          Westport, CT 06880                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Rick & Sharon Baker                                                   Contingent
          12 Marci Ave.                                                         Unliquidated
          East Longmeadow, MA 01028                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $450.00
          Rinehimernaker LLC                                                    Contingent
          POB 2339                                                              Unliquidated
          Jupiter, FL 33458                                                     Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Accounting Bill
          Last 4 digits of account number       3326
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,810.00
          Robert & Beth Buyea                                                   Contingent
          35 Dale Street                                                        Unliquidated
          North Andover, MA 01845                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Robert & Jane Atkins                                                  Contingent
          178 Grove Street                                                      Unliquidated
          Lexington, MA 02420                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Robert & Kathleen Paradis                                             Contingent
          2 Scotland Heights Rd.                                                Unliquidated
          Haverhill, MA 01832                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Samir & Hala Si-Ahmend                                                Contingent
          88 Glenville Road                                                     Unliquidated
          Greenwich, CT 06831                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Sarah X. & Ellen M. Kritemeyer                                        Contingent
          2 Apple Drive                                                         Unliquidated
          Oxford, CT 06478                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Scott & Healther Hanley                                               Contingent
          3 Winterberry Lane                                                    Unliquidated
          Ayer, MA 01432                                                        Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Scott & Julie Knowlton                                                Contingent
          5 Crescent Street                                                     Unliquidated
          Natick, MA 01760                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,277.00
          Scott & Kay Griggs                                                    Contingent
          9 Russell Trufant Road                                                Unliquidated
          Carver, MA 02330                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Scott& Denise Barker                                                  Contingent
          241 Old County Road                                                   Unliquidated
          East Sandwich, MA 02537                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Sean & Amy McGuire                                                    Contingent
          88 Pheasent Brook Road                                                Unliquidated
          North Andover, MA 01845                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Sean & Gina Willcutts                                                 Contingent
          1122 North Grand Street                                               Unliquidated
          West Suffield, CT 06093                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Sharin Horvitz-Chung                                                  Contingent
          150 Edgemere Road                                                     Unliquidated
          Apt. 11                                                               Disputed
          West Roxbury, MA 02132
                                                                             Basis for the claim:    Collection of Debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Sriram Sathyanarayanan                                                Contingent
          Lakshmi Srinivasan                                                    Unliquidated
          75 Robbins Road                                                       Disputed
          Lexington, MA 02421
                                                                             Basis for the claim:    Collection of Debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Stephanie & Jody Lauer                                                Contingent
          48 Port Road                                                          Unliquidated
          Kennebunk, ME 04043                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $820.00
          Stephen & Dawn E. Fopp                                                Contingent
          9 Pease St.                                                           Unliquidated
          Wilbraham, MA 01095                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,872.00
          Stephen & Jill Atkins                                                 Contingent
          3 Primose Lane                                                        Unliquidated
          Westford, MA 01886                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Stephen A. Savage & Stefanie Wood                                     Contingent
          270 5th Street                                                        Unliquidated
          Apt 3J                                                                Disputed
          Brooklyn, NY 11215
                                                                             Basis for the claim:    Collection of Debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,872.00
          Steve & Cheryl Silva                                                  Contingent
          22 Mayo Dr.                                                           Unliquidated
          Warren, RI 02885                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Steve & Heather Morrison                                              Contingent
          74 Magnolia Drive                                                     Unliquidated
          Westwood, MA 02090                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Steve & Jae Rosenstein                                                Contingent
          28 Fox Hill Drive                                                     Unliquidated
          Natick, MA 01760                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,225.00
          Steve & Renee Aube                                                    Contingent
          1126 North Grand Street                                               Unliquidated
          West Suffield, CT 06093                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Stuart Rebish & Louisa Viola                                          Contingent
          82 Chelsea Road                                                       Unliquidated
          Garden City, NY 11530                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Tara M Barker Hixson                                                  Contingent
          255 Melvin Heights Rd.                                                Unliquidated
          Camden, ME 04843                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,330.00
          Ted Seides & Shari Greenleaf                                          Contingent
          77 Havemeyer Lane #6                                                  Unliquidated
          Stamford, CT 06902                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Theodore Milapah & Akofa Modey                                        Contingent
          289 Tanglewood Drive                                                  Unliquidated
          Longmeadow, MA 01106                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,405.00
          Theodore Mlapah & Akofa Modey                                         Contingent
          289 Tanglewood Drive                                                  Unliquidated
          Longmeadow, MA 01106                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.152     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,405.00
           Todd Grant & Diane Knybel                                            Contingent
           7 South Monson Road                                                  Unliquidated
           Hampden, MA 01036                                                    Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.153     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $820.00
           Tom & Sarah Reddy                                                    Contingent
           14 Upland Road                                                       Unliquidated
           Marblehead, MA 01945                                                 Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.154     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $820.00
           Tony & Carmina DeAngelis                                             Contingent
           37 Birch Hill Drive                                                  Unliquidated
           Somers, CT 06071                                                     Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.155     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,405.00
           Valerie I. Ouinones                                                  Contingent
           7167 Peri Lane                                                       Unliquidated
           Brooklyn, NY 11234                                                   Disputed
           Date(s) debt was incurred     2018                                Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.156     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,405.00
           William & Christina Hutchins                                         Contingent
           70 Sawyers Lane                                                      Unliquidated
           Tewksbury, MA 01876                                                  Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.157     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $500.00
           Zev & Christine Young                                                Contingent
           208 Warren Street                                                    Unliquidated
           Waltham, MA 02453                                                    Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collection of Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Beck & Eldergill PC
           447 Center St.                                                                             Line     3.21
           Manchester, CT 06040
                                                                                                             Not listed. Explain



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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.2       Jay Forbes
           8 Aschmann Lane                                                                       Line     3.16
           Croton on Hudson, NY 10520
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                    228,352.07

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                      228,352.07




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 Fill in this information to identify the case:

 Debtor name         U.S. Gymnastics Training Centers, Inc

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Rental Trailer to store
             lease is for and the nature of               camp
             the debtor's interest                        equipment/platform
                                                          material
                  State the term remaining                Ends 08/15/2018

             List the contract number of any                                            Bee Line Corp.
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                    Case 18-20912-EPK                 Doc 1      Filed 09/04/18        Page 38 of 62
 Fill in this information to identify the case:

 Debtor name         U.S. Gymnastics Training Centers, Inc

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         U.S. Gymnastics Training Centers, Inc

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $235,800.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $389,221.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $395,983.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       U.S. Gymnastics Training Centers, Inc                                                     Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               New England Foam                                            07/13/2018                         $7,886.53               Secured debt
               760 Windsor St                                                                                                         Unsecured loan repayments
               Hartford, CT 06120
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Michael Jacobson                                            Various                                 $0.00         Wages for preparation of camps
               POB 4088                                                    dates over
               Tequesta, FL 33469                                          past year
               Owner

       4.2.    Susan Jacobson                                              Various                                 $0.00         Wages. Note that the debtor
               POB 4088                                                    dates over                                            does not operate camps on a
               Tequesta, FL 33469                                          past year                                             calendar or year round basis.
               Bookeeper, Manager                                                                                                Most camp fees are paid
                                                                                                                                 between May and July of each
                                                                                                                                 year and the camps are held in
                                                                                                                                 July. Hence most work is
                                                                                                                                 performed and wages are paid
                                                                                                                                 from March until August.
                                                                                                                                 Balance of year is stagnant
                                                                                                                                 except for planning for next
                                                                                                                                 season's camps.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.




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 Debtor        U.S. Gymnastics Training Centers, Inc                                                        Case number (if known)




           None.

                Case title                                       Nature of case               Court or agency's name and               Status of case
                Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                     lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                    Total amount or
                 the transfer?                                                                                                                                   value
                 Address
       11.1.     Bumgardner & Associates,
                 PA
                 7707 N University Drive, #103                       Attorney Fees $4,000.00, Court Fees
                 Tamarac, FL 33321                                   $335.00                                                   08/06/2018                     $4,335.00

                 Email or website address
                 donnabkclaw@aol.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


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 Debtor      U.S. Gymnastics Training Centers, Inc                                                       Case number (if known)




           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor      U.S. Gymnastics Training Centers, Inc                                                      Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Bee Line Corp                                                 Debtor rents a trailer in            Plywood for platform, foam,             No
                                                                     open lot to store certain            gymnastics equipment.                   Yes
                                                                     assets to setup camp. It
                                                                     also stores it own trailer
                                                                     with equipment and
                                                                     material to build platform
                                                                     for camp.



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


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 Debtor      U.S. Gymnastics Training Centers, Inc                                                      Case number (if known)




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Rinehimernaker LLC                                                                                                         07/2018, Completed
                    4455 Military Trail #204                                                                                                   tax returns and all
                    Jupiter, FL 33458                                                                                                          related files for last
                                                                                                                                               5 years

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      U.S. Gymnastics Training Centers, Inc                                                      Case number (if known)



       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Jacobson                               POB 4088                                            Officer/Owner/Principal               100 %
                                                      Tequesta, FL 33469



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Susan Jacobson                                 POB 4088                                            Former Officer                    unknown
                                                      Tequesta, FL 33469


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 See #4 above
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.



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 Debtor      U.S. Gymnastics Training Centers, Inc                                                      Case number (if known)



    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 3, 2018

 /s/ Michael Jacobson                                                   Michael Jacobson
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Principal and 100% owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      U.S. Gymnastics Training Centers, Inc                                                        Case No.
                                                                                  Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Principal and 100% owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       September 3, 2018                                         /s/ Michael Jacobson
                                                                       Michael Jacobson/Principal and 100% owner
                                                                       Signer/Title




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            AAAAA Bee-Line Corp
            POB 6
            Springfield, MA 01101


            Alex & De Borrah Wright
            94 Nottingham Drive
            East Longmeadow, MA 01028


            Andrew D. & Karen J. Richard
            38 Grahampton Lane
            Greenwich, CT 06830


            Andrew McLaughlin & Elizabeth Willette
            26 Grant Breen Drive
            Mashpee, MA 02649


            Andrew T & Bridget A. Graham
            9 Red Gate Rd.
            Walpole, MA 02081


            Andrey Chertov & Nataliya Volkova
            52 Payson Road
            Chestnut Hill, MA 02467


            AT&T
            POB 105262
            Atlanta, GA 30348


            Basel Salloum & Effie Ahladiotis-Salloum
            16 Hemlock Rd.
            Manhasset, NY 11030


            Beck & Eldergill PC
            447 Center St.
            Manchester, CT 06040


            Bee Line Corp.



            Brendan & Yvonne Molloy
            27 Hillcrest Rd.
            Braintree, MA 02184
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        Brian & Amber Fulmer
        19 Whitney Road
        Shirley, MA 01464


        Brian & Jacquie Rabinowitz
        7 Curt Terrace
        Greenwich, CT 06831


        Brian & Lisa Maffioli
        11 Heathers Path
        Plympton, MA 02367


        Brian W. & Laureen A. Danieli
        237 Sycamore Drive
        Westwood, MA 02090


        Caitlin Fay
        34 Lyng Street
        North Dartmouth, MA 02747


        Carl & Robin Erickson
        4889 East Bakersfield Road
        Enosburg Falls, VT 05450


        Carlus & Christy Gooden
        3520 Gomer Street
        Yorktown Heights, NY 10598


        Chad Gronbach & Liz Russell
        4 Greystone Lane
        Hopkinton, MA 01748


        Chris & Victoria Condon
        23 High Street
        Rockport, ME 04856


        Christopher & Elizabeth Alagno
        16 Macintosh Drive
        Oxford, CT 06478


        Christopher & Stacy Magiera
        57 Dartmouth Lane
        East Longmeadow, MA 01028
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        Christopher A & Michelle L. Blackburn
        55 Stuart Drive
        Tolland, CT 06084


        Christopher Macrina &
        Christina Bamberger
        14A Populatic Street
        Medway, MA 02053


        Corey & Susanne Kummel
        11 Villa Street #407
        Haverhill, MA 01832


        Crist Myers & Aliya Mamdani
        33 Ardsley Road
        Longmeadow, MA 01106


        Cynthia Hodgdon
        6 Pinewood Drive
        Amherst, NH 03031


        Damian R. Siebert & Elizabeth Canter
        44 Worcester Street
        Belmont, MA 02478


        Dan Higgins & Rose Tse
        10 Hobby Farm Drive
        Bedford, NY 10506


        Danda & Caroline Fosdick
        495 Salem Street
        Rockland, MA 02370


        Daniel & Christine Maloof
        15 Taylor Drive
        Rehoboth, MA 02769


        Daniel & Kristen Augustyn
        31 Lancashire Drive
        Mansfield, MA 02048


        Daniel & Treacy Henry
        419 Newton Street
        South Hadley, MA 01075
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        Dave & Lynn Meritt
        POB 783848
        Winter Garden, FL 34788


        David & Carrie Michael
        266 Woodland Road
        Newton, MA 02466


        David S. Guy
        40 Clark Rd.
        Brookline, MA 02445


        David Tarimo & Grace Makani-Tarimo
        22 Ruhinde Street, ADA Estate
        POB
        Tanzania


        Deniz Savas
        5 Brahman Drive
        Norton, MA 02766


        Diana & Sara Brewer
        6 Prospect Court
        Northampton, MA 01060


        Dmitriy Svirskiy & Julia Donina
        2 Taggart Court
        Ashland, MA 01721


        Domenico & Heidi Manago
        3 Maple St
        Natick, MA 01760


        Donald & Andrea Knowles
        26 Grayson Road
        Winchester, MA 01890


        Douglas & Gail Stanton
        122 Greenville Road
        West Townsend, MA 01474


        Eddie & Jessica Wenzell
        73 Deerfield Drive
        Groton, MA 01450
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        Edward & Donna Rachwal
        337 Commonwealth Ave.
        Attleboro Falls, MA 02763


        Eric N & Stacey L. Panasci
        72 N Circle Drive
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